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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                         Civil Minutes


 Date: May 26, 2022                                                 Judge: Hon. James Donato

 Time: 12 minutes

 Case No.       3:18-cv-04978-JD
 Case Name      DZ Reserve et al v. Meta Platforms Inc

 Attorney(s) for Plaintiff(s):   Jeff Graber/Ted Leopold/Eric Kafka/Charles Reichmann
 Attorney(s) for Defendant(s):   Melanie Blunschi/Elizabeth Deeley/Andrew Clubok

 Court Reporter: Lynne Krenz

 Deputy Clerk: Lisa Clark

                                        PROCEEDINGS

Status Conference -- Held

                                    NOTES AND ORDERS

The pretrial conference and trial dates remain as stated in the second amended scheduling order.
Dkt. No. 331.




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